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PROPOSED ATTORNEYS FOR DEBTOR




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS

IN RE:                                          §
                                                §
JERRY P. WHITLEY                                §            CASE NO. 17-16183
                                                §
          Debtor.                               §                   Chapter 11


                      WITHDRAWAL OF MOTION TO EXTEND TIME


TO THE HONORABLE U.S. BANKRUPTCY COURT JUDGE:

          Jerry Whitley (“Debtor”) hereby withdraws Debtors’ Motion to Extend Time for Filing

Schedules and Other Required Documents– filed as Docket #14 in Case No. 17-33628 (as

assigned by the Bankruptcy Court for the Northern District of Texas prior to transfer to this

Court).


DATED this 15th day of December, 2017.


                                             Respectfully submitted,


                                             THE MITCHELL LAW FIRM, L.P.

                                             /s/ Gregory W. Mitchell
                                             Gregory W. Mitchell
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2017, a true and correct copy of the foregoing was
served via U.S. Mail and/or ECF to the parties in interest receiving notice via the Court’s ECF
system.

                                            THE MITCHELL LAW FIRM, L.P.


                                            /s/ Gregory W. Mitchell
                                            Gregory W. Mitchell
                                            Proposed Attorneys for Debtor




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